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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


    PETER GABIOLA, ANTONIO HAMMOND, on
    behalf of themselves and all other similarly situated
    individuals,                                                        No. 16-cv-02076
                    Plaintiffs,

    vs.                                                                      Honorable Judge
                                                                         Sharon Johnson Coleman
    MUGSHOTS.COM, LLC, a Delaware Limited
    Liability Company; UNPUBLISH, LLC, a Florida
    Limited Liability Company; UNPUBLISH, LLC, a
    Wyoming Limited Liability Company; HAMMERMILL
    & MASTERSON LLC d/b/a “Unpublisharrest.com,”
    “Mugshots.com,” and
    “Unpublishingpartners.com,” a Wyoming Limited
    Liability Company; HAMMERMILL & MASTERSON
    LLC d/b/a “Unpublisharrest.com,” “Mugshots.com,”
    and “Unpublishingpartners.com,” a Florida Limited
    Liability Company; THOMAS KEESEE; MARC
    GARY EPSTEIN; ARI EPSTEIN; MICHAEL
    ROBERTSON a/k/a MICHAEL J. ROBERTSON; and
    UNPUBLISHING SERVICES, LLC, a Wyoming
    Limited Liability Company,

                    Defendants.

                         MOTION TO DISMISS FILED BY DEFENDANTS
                         THOMAS KEESEE, MARC GARY EPSTEIN AND
                            HAMMERMILL & MASTERSON LLC

           Pursuant to Rules 12(b)(6) of the Federal Rules of Civil Procedure, Defendants

THOMAS KEESEE (“Keesee”), MARC GARY EPSTEIN (“Epstein”) and HAMMERMILL &

MASTERSON LLC, a Wyoming Limited Liability Company (“Hammermill”),1 collectively the

“Moving Defendants,” respectfully move this Court for an order dismissing the removed putative

class action complaint (“Complaint”) (Doc. 1-1) as to all the Moving Defendants for failure to




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    Moving Defendants do not include Hammermill & Masterson LLC, a Florida Limited Liability Company.
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state any claims upon which relief can be granted against any Moving Defendant. In support of

this motion, the Moving Defendants state as follows:

       1.      The Complaint fails to state a claim because of pervasive “block” or “group”

pleading -- insufficient under Twombly2 and Iqbal3 and prohibited by Seventh Circuit precedent.

Block pleading denies each Moving Defendant of meaningful notice about what that particular

defendant supposedly did or did not do. Dismissal of the entire Complaint is warranted under

applicable case law.

       2.      The Complaint alleges damages, under the Illinois Consumer Fraud Act, the

Illinois Right of Publicity Act, and the Fair Credit Reporting Act that are proximately caused by
the availability on the Website of the public arrest records. All such claims are barred, because

those records constitute matters of public concern and, as such, their publication cannot be

penalized or restrained consistently with the First Amendment absent a state interest of the

highest order. No such interest is implicated here.

       3.      All of Plaintiffs’ claims are barred by the Communications Decency Act

(“CDA”). Any claim for injuries caused by the dissemination of public records originating from

third party, governmental sources is barred by Section 230 of the Communications Decency Act,

47 U.S.C. § 230(c)(1) (“Section 230).          Section 230 protects interactive computer service

providers, such as the Website publisher, against liability arising from “publishing” third party

content, here the public arrest information.

       4.      The Complaint in any case fails to allege facts sufficient to state a claim under

any of the substantive state statutes relied upon -- the Illinois Consumer Fraud Act (Counts II and

III) and Illinois Right of Publicity Act (Count I).4

       5.      The Complaint fails to state a claim under the Illinois Consumer Fraud Act

(“ICFA”) for at least two distinct and independent reasons. First, the ICFA claims should be


2
 Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955 (2007).
3
 Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937 (2009).
4
 This motion references “Count” designations as they appear in the Second Amended Complaint. The Second
Amended Complaint contains no “Count IV.”

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dismissed because Plaintiffs’ alleged injuries are not proximately caused by any purported

unfair, deceptive, or unlawful act. Second, the ICFA claims seek reputational injury damages

caused by a publication. To recover such damages, Plaintiffs are required to prove that the public

records are false and disseminated with actual malice. Because the public records constitute true

historical facts as a matter of law, plaintiffs cannot recover for their reputational injury damages.

Thus, Counts II and III should be dismissed with prejudice.

       6.      The Complaint fails to state a claim under the Illinois Right of Publicity Act

(“IRPA”) for at least two distinct and independent reasons. First, the IRPA claim fails because

the arrest photos catalogued on the Website are not used to endorse any product or service.
Second, dissemination of the public arrest photos is exempted from liability under the Act,

because the arrest photos concern public affairs and are newsworthy. Thus, Count I should be

dismissed with prejudice.

       7.      This Motion is supported by a separately filed Memorandum in Support of

Motion to Dismiss and by the allegations of the Complaint.

       WHEREFORE, Defendants THOMAS KEESEE, MARC GARY EPSTEIN, and

HAMMERMILL & MASTERSON LLC (a Wyoming Limited Liability Company) respectfully

request that the Court dismiss the Complaint and this case as to all Moving Defendants for (a)

failure to state a claim because of improper block pleading, and (b) failure to state claims under

any of the statutes relied upon.



Dated: March 22, 2016                                 Respectfully submitted,



                                                         /s/ Michael A. Stick
                                                      One of the Attorneys for these Defendants




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                                   CERTIFICATE OF SERVICE


           The undersigned attorney hereby certifies that a true copy of the preceding Motion to

Dismiss Filed By Defendants Thomas Keesee, Marc Gary Epstein and Hammermill & Masterson

LLC was served on March 22, 2016 on all counsel of record, in accordance with Fed. R. Civ. P.

5., Local Rule 5.5, and the General Order on Electronic Case Filing (ECF) pursuant to the district

court’s system as to ECF filers.


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                                                                /s/ Michael A. Stick



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